EXHIBIT D

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Investor Barry Honig Subject of 23
SEC MGT Capital Subpoena """"

 

’I 'his' story lms been updated

Microcap investor Bany C. Honig is a lead subject of`an SEC investigation
for his role in trading and investing in shares of MG'|` Capital ($MGT).
MG'|` Capital is trying to complete a reverse merger with farned tech
entrepreneur john McAfee. l am reportingexclusi\-'e news today for
Gron'th Capitalist on \vhat`s inside the Sec\irities and Exchange
Commission subpoena MGT Capital announced was lobbed against them
late last week.

News of the SEC formal demand for answers from the company
delighted short sellers to the tune of a 40% drop in MG'I"s stock. 'l`he
company. currently run by CEO Roi)ert L;idd, says it does not believe the
SEC is targeting any ofthe Company executives But shareholders have
expressed doubt this week given the lack oi`detai|s the company was
allowed to disclose about the regulatory investigation On top that the
N\’SE. where MG'l‘ trades, announced it wouldn't accept the new shares
that are set to be issued in the reverse merger with john McAfee`s cyi)er
security companies ’i'he national stock exchange was kind ofa jerk
about it because they didn't offer up a reason i`or the share iss\.\ance halt.
Unfortunately, it's a big clusterf-l< of \mkno\\'ns for the company and
shareholders right now.

But one thing that my reporting makes very clear is the SEC wants to
make sure Barry Honig isn’t‘ doing anything shady (or out right illeg;il)
with this comnanv. Accordine to insiders who saw the SEC subpoena a

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Your Voice

California DO} investigating
Honlg and The Frost Group

on

investor Barry Honig Subject' of
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But one thing that my reporting makes very clear is the SEC wants to
make sure Uarry Honig isn't' doing anything shady (or out right illegal)
with this company. According to insiders who saw the SEC subpoena. a
large portion of the regulator`s questions are about Honig. his company
GRQ Consultants, and people who invest with him. l can also confirm
Honig has been calling SEC enforcement defense lawyers this week
looking t`or representation l first reported on Honig's alleged illegal
actions in my “Attorney Gregg jaclin blew up his life and got busted for
creating a shell factory scheme” story this Spring. 'l`he central theme oi‘
alleged bad behavior is Barry uses other people to run a company he is
secretly controlling and indirectly pays stock pumpers to tout the
company without disclosure

\'ou can see here in a DO] plea deal made by one of Honig's alleged
puppet CEGs how Honig allegedly runs things behind the scene. 'i`his
plea deal \\-'as first reported and unearthed by me in a story for Gro\vtli
Cupitalist in May.

The SEC has never been able to pin anything on Honig. We do see a
FINRA action settled against him as a young trader in 2000 when he was

working tor a questionable l~’ll’E financing finn called Ramius Capital (or

Ramius Securitics). On june 14. 2000 FlNRA said Honig had acted as an
affiliate trading with others and hid it by running the trade through two
people instead ot`one.

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Honig has a SEC deal lawyer. Harvey Kesner at \-vww.srfl".com , who
apparently has been able to keep the SEC at bay in tons oi`questionable
pump and dump deals Honig invested in. l know from interviewing
MGT's executives and reviewing Honig‘s financing transactions that he

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Learn How Connecticut
Wants to jail Me l~`or
l’rotecting Sources and
Squash Speech

Teri Buhl in the News

 

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On the Case.' `Ails,on Franl<el

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Honig has a SEC deal lawyer. Har\'ey Kesner at w\vw.sr'i`t`.com . who
apparently has been able to keep the SEC at bay in tons of questionable
pump and dump deals Honig invested in. l know from interviewing
MGT`s executives and reviewing Honig's financing transactions that he
wasn’t a control person at MG'i`. CEO Roh Ladd, who used to mn a hedge
fund. put blocl<ers in Barry's finance deal that don't allow him to own a
certain percent of the company What we don‘t know is whether Barry
teamed up with his favorite investing partner Michael Brauser and acted
as an afiiliate in trading MGT stock. which blew up to a 700% gain when
news o€a john McAfee merger was announced in May. Afiiliate trading
without disclosure is a big SEC no~no, which l explain my story today at
www,growthcapitlist.com. Honig through his attorney did not return a
request for comment

i-`or now it’s a wait and see as MGT scrambles to get the SEC to clarify to
stock exchanges that the reverse merger deal is clean. And market
participants sit on the side line to see if`the SEC can get the goods to
finally charge Barry Honig.

Clarification 9.23.16: Ban)’ Honig is pulling out the big leg;rlguns
apparently worried about anyone reporting on wha t's inside that SEC
subpoena As' ol`$.‘ZU/)m I was contacted by a C'ali/brnia attor'rre)»'. Clrarles
Har'der (lvlro repped Hulk Hogan). for Honig demanding to hare the
story taken down and to write an apology. l refused and stand l))' the
sourcing in this story l have spoken with people who have seen the
subpoena again and clarified a sentence in the story that relates to a large
portion oft/re SEC’s questions are centered on Barr}-' Hom`g. his company
and people /re invest with. 'I`he original sentence said “90% of the SEC
questions are about Barr}»~' Honig. "Addilr'onally, Honig had ti \'o days to
respond to questions about the subpoena before the story ran and
refused to return a call and em.'ril for comment

Update10.7.16: One of the sentences in this story that Bany Honig has
denied through his attorney Charles Harder is that he invest with
Michael Brauser. Harder wrote in item 119 in his demand letter they sent
me to get the story taken down:

"lmplication that Mr. Honig "teamed up with his favorite investing
partner Michael Brauser". False; the two have not teamcd up.”

l'd like to take the chance to remind readers of this 20l2~2013 litigation .' 1
against Barry Honig. Miehael Brauser, and the Brauser Honig Frost Group '
f'or their role in Biozone Pharmaceuticals, lnc. lt was filed by the

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l'd like to take the chance to remind readers of this 2012-20l3 litigation
against Barry Honig. Michael Brauscr. and the Brauser Honig Frost Group
for their role in Biozone l’harmaceuticals. Inc. lt was filed by the
company‘s tormer Founder Daniel Fisher. 'l`his is from Fisher's amended
complaint hled in Northern C'alif`ornia Distri ct Court on ll.22.l2 . Case
number Z:lZ~c\’-G','»?l()~WHA

"ln january 201|. l’laintitl`l~`isher met with a group of investors the
Def`endant representing

itself as Brauser Honig Frost Group (“BHFG"). Over the course of the
following six months. this

group ot`investors misled l’laintift` l-`isher through an investment scheme
designed to divest

l’laintif`fot'all ol`the economic rights and goodwill he had built through
his company over the

course of`the previous 22 years."

Ai`ter Fisher beat their motion to dismiss and the case moved into
discovery we see the case was settled with the defendants paying Daniel
l~`isher halfa million dollars

And that’s just one reason why l stand behind my reporting opinion. and
sourcing in this or any story of mine on Barry Honig!

UPDATE 11.4.16 : l have died a letter to the federal judge in Honig's
lawsuit against me that you can read here. Honig used a process server
who lied in an affidavit that he served me. l have video to prove he is
lying. Additiona|, l informed the judge Honig asked MG'I` Capital CEO
Rol) Ladd to call me and set up a private 'of`t` books' meeting. A move that
is pretty much a no‘no legal tactic given he sued me. His lawyers are
supposed to be the ones to contact me. l obviously said no to the
meeting and told Rob Ladd if Mr. Honig wants to speak to me and
comment on any of my reporting he can call me through his attorneys -
he has enough of`them. 'l`his secret meeting tactic is something l have
learned he has used in other litigation...it feels like the purpose is to try
and figure out if` l am going to give up names of my story sourcing.

l still need a pro bono lawyer to go up against Hull< Hogan's attorney

Charles Harder. Honig apparently tried to hire Harder (an expensive l - - ~'_: '
lawyer who has been in the news for his anti~journalism legal work) to -‘1 t
scare me into stoping reporting and it didn't worl<. if you are interested

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Charles Harder. Honig apparently tried to hire Harder (an expensive
lawyer who has been in the news for his anti~iournalism legal work) to
scare me into stoping reporting and it didn't work. if you are interested
in this easy to win suit please entail me at teribuhl@gmail.com. l've been
told NY laws make it favorable to sue back for attorney fees in N\’ court
and this is an easy case to win given my sourcing and the fact a lot of
what l wrote here is opinion. Donations are also helpfully now in case l
have to defend my self pro se.

UPDATF. 1-10-17: l`ve secured a top first amendment lawyer to represent
me pro-bono. Chuck 'l`obin of Hoiland & Knight filed last week in
Manhattan Federal Court to be lead counsei. We have till February lOth
to file a response to Honig`s claim. l would like to thank Hol|and & Knight
for stepping up and defending the rights ofa f`reelance journalist.

UPDA'I‘E 2-21¢17:Barry Honig voluntarily withdrew his lawsuit against me
on Febmary Sth. 'i`his was two days before my attorneys were due to file
our motion to dismiss and we were given no warning or notice of why
the suit was being dropped. l thought the litigation was over but now it
looks like Honig and his attorney Charies Harder were just making a
move to judge shop because today l got a repeat retraction letter asking
again to take down my reporting and apologize. lt`s my expectation that
team Honig will just refile their suit in another court or another state
which means the bullying of'this journalist for reporting on a matter of`
public concern continues

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